 1

 2                                          THE HONORABLE MARY JO HESTON
                                            TACOMA, WASHINGTON
 3
                                            CHAPTER 13
 4

 5
                      IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 6                      WESTERN DISTRICT OF WASHINGTON AT TACOMA

 7   In Re:                                       )   CASE NO. 24-41481-MJH
                                                  )
 8   JENNIFER RUTH KAMP,                          )   PROOF OF SERVICE
                                                  )
 9                                                )
                             Debtor.              )
10
                                                  )
11

12            I declare under penalty of perjury under the laws of the United States as follows

13   that on the 30th day of October, 2024, I mailed via regular mail a true and correct copy of

14   the Trustee’s Objection to Claim No. 5-1 and Proposed Order to the following:
15            Jennifer Ruth Kamp                          Michael Helworth
              2201 – 47th St. St. N.W.                    Hepworth Legal
16
              Gig Harbor, WA 98335                        320 West 500 South, Suite 200
17                                                        Bountiful, UT 84010

18
     The following parties received Notice via ECF:
19
              •Chritopher E. Allen                •US Trustee
20            •Lance E. Olsen                     •David C. Smith
              •Brett L. Wittner
21
              DATED this 30th day of October, 2024.
22

23

24                                                        /s/ Tracy Maher
                                                          TRACY MAHER
25                                                                                     Michael G. Malaier
                                                                                        Chapter 13 Trustee
                                                                                  5219 N. Shirley, Ste. 101
                                                                                       Ruston, WA 98407
                                                                                           (253) 572-6600
     Proof of Service - 1


     Case 24-41481-MJH          Doc 102-2     Filed 10/30/24    Ent. 10/30/24 14:31:38        Pg. 1 of 1
